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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


DEBORAH A. GAUDET, ET AL.                                 CIVIL ACTION
Individually and on Behalf of a Class of All
                                                          NO. 19-cv-10356
Other Similarly Situated Persons

                                                          JUDGE WENDY B. VITTER
VERSUS                                                    MAGISTRATE JANIS VAN
                                                          MEERVELD

HOWARD L. NATIONS, APC, ET AL.
                                                          DEMAND FOR JURY
                                                          TRIAL




                    FIRST AMENDED CLASS ACTION COMPLAINT


       NOW INTO COURT, through undersigned counsel, come Plaintiffs, DEBORAH A.

GAUDET, TIMOTHY BUTLER, DIAN B. CAMPBELL, KRISTINE COLLINS, REGINA

FALGOUST, ABRAHAM GAMBERELLA, ADAM J. HEBERT, FRED LEDET,

STANWOOD MOORE, JR., and JAMES SCALES, III, individually and on behalf of all

others similarly situated, who desire to amend the Class Action Complaint filed on May 13,

2019, by replacing the entirety of that Class Action Complaint to read as follows:

                                       INTRODUCTION

       On April 20, 2010, a catastrophic oil spill (“BP Oil Spill”) occurred in the Gulf of

Mexico when the Deepwater Horizon sank, resulting in damages and losses to individuals,

businesses, and governmental entities in certain coastal states, namely, Louisiana, Mississippi,

Alabama, Florida, and Texas. Subsequently, multiple class action lawsuits were filed, and


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eventually consolidated into multidistrict litigation, which was assigned to Judge Carl Barbier in

the Eastern District of Louisiana. Ultimately the matter was resolved by settlement and the Court

approved the Deepwater Horizon Economic and Property Damages Settlement Agreement (“BP

Settlement Agreement”), which was intended and designed to provide recovery for a broad class

of claimants by providing monetary compensation for the losses sustained as a result of the BP

Oil Spill. See In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on

April 20, 2010, MDL 2179 (Document 6430).

       The BP Settlement Agreement established the Economic and Property Damages

Settlement Class (“BP Class”), which included persons and entities located in geographically

defined areas in Florida, Alabama, Mississippi, Louisiana, and Texas. It also established the

Deepwater Horizon Economic and Property Damages Settlement Program (“BP Settlement

Program”), in which BP Class members could participate by filing for their losses caused by the

BP Oil Spill (“BP Claims”). The BP Claims were processed by the Deepwater Horizon

Economic Claims Center (“DHECC”). Specifically, the BP Settlement Agreement provided for

affected persons to make claims for subsistence losses (“Subsistence Claims”) caused by the

closing of Gulf Coast fishing areas due to contamination from the BP Oil Spill.

       Plaintiffs were among many people who resided along the Gulf Coast who harvested fish

and seafood in the coastal area for their regular dietary consumption. Since coastal areas were

closed due to the BP Oil Spill, Plaintiffs were unable to catch and harvest seafood.

       After the settlement was approved and during the BP claims period, the Plaintiffs were

advised that out-of-state lawyers were hosting meetings in various locations. The meetings were

scheduled and designed by the Defendant law firms to solicit clients in order for the Defendant

law firms to file Subsistence Claims in the BP Settlement Program on behalf of the clients they



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had engaged. Upon information and belief, the efforts to recruit clients were highly successful in

that the Defendant law firms handled at least 17,000 claimants in Louisiana, Mississippi,

Alabama, and Florida. Each Plaintiff herein engaged the Defendants to provide legal

representation in connection with his or her participation in the BP settlement by filing a

Subsistence Claim on his or her behalf with DHECC.

       Deborah A. Gaudet, along with her husband Ray, attended one of the Defendant-

scheduled meetings at the Lil Caillou School in Chauvin, Louisiana. At that meeting, the

Defendants’ representatives advised the Gaudets to fill out forms to identify their subsistence

losses, which formed the basis for their Subsistence Claim. At the meeting, forms were presented

to claimants that had been partially completed in advance by the Defendants. Additionally, the

Defendants created and placed poster boards in the meeting rooms that provided instruction to

the clients on what information the client was to provide on the forms so that his or her claim

could be properly filed and paid by BP.

       At the meeting at the Lil Caillou School, Deborah A. Gaudet engaged the Defendant law

firms to file a claim as a result of damages she and her husband sustained from being restricted

from harvesting seafood in the closed coastal areas. Gaudet signed a fee agreement with the

Defendant law firms and fully expected their claim would be handled pursuant to the terms of the

client contract she executed with the Defendants and in accordance with the BP Settlement

Agreement -- allowing recovery for specified subsistence losses.

       Subsequently, Deborah A. Gaudet called the Defendants for updates on the status of her

claim, and was told it was “still pending.” In March of 2019, Gaudet received one of the many

form denial letters believed to have been mailed en masse by the Defendants, stating that BP had

“denied” her claim. The letter bore an October 31, 2018 date. In truth and in fact, the Defendants



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had never filed a Subsistence Claim with DHECC on Gaudet’s behalf. Yet, this disclosure,

fundamental to the fiduciary relationship between attorneys and their clients, had never been

made known to her.

       Similar to Gaudet, Timothy Butler attended a community meeting hosted by the

Defendants at the Chackbay Volunteer Fire Station on May 26, 2015. He provided the requisite

information and completed the necessary documentation, including the “Attorney-Client

Contract,” for the Defendants to file his Subsistence Claim. After completion of the client

contract and the necessary forms, Butler called the Defendants for updates on the status of his

claim. He was notified that his claim was “still pending.” However, in truth and in fact, the

Defendants never filed a Subsistence Claim with DHECC on Butler’s behalf. Butler received a

“denial” letter in March of 2019, which was identical to Gaudet’s letter -- likewise dated October

31, 2018.

       Dian B. Campbell attended a meeting in Belle Chasse on May 29, 2015 at the Law Office

of Terry Sercovich, an office used by the Defendants to host one of many community meetings.

She provided the requisite information and completed the necessary documentation, including

the “Attorney-Client Contract,” for the Defendants to file her Subsistence Claim. Campbell

subsequently made multiple calls to the Defendants for updates on the status of her Subsistence

Claim, and was repeatedly told it was “still pending.” In truth and in fact, the Defendants had

never filed a Subsistence Claim for Campbell. Dian Campbell received a “denial” letter from

Defendants in February or March of 2019. The letter was identical to those received by Gaudet

and Butler -- likewise dated October 31, 2018.




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       Kristine Collins attended a similar community meeting hosted by the Defendants at a

facility in Golden Meadow on June 8, 2015. She provided the requisite information and

completed the necessary documentation, including the “Attorney-Client Contract,” for the

Defendants to file their Subsistence Claims. Unfortunately, the Defendants failed to file a

Subsistence Claim with DHECC on her behalf by the June 8, 2015 deadline. Like the other

Plaintiffs, she received the same “denial” letter from Defendants in March of 2019 -- likewise

dated October 31, 2018.

       Regina Falgoust attended the community meeting hosted by the Defendants at the Lil

Caillou School in Chauvin on May 7, 2015. Just as the others, she provided the requisite

information and completed the necessary documentation, including the “Attorney-Client

Contract,” for the Defendants to file her Subsistence Claim. Falgoust also subsequently called

multiple times for updates on the status of her Subsistence Claim. She was repeatedly told her

claim was “still pending.” Ultimately, her Subsistence Claim was denied for being incomplete.

While Defendants had filed her claim, they knowingly failed to include specific documents

required by the BP Settlement Agreement. In February or March of 2019, she received a “denial”

letter from the Defendants dated October 31, 2018 identical to those received by the other

Plaintiffs, whose claims had been purportedly “denied.”

       Abraham Gamberella attended a community meeting hosted by the Defendants at the Lil

Caillou School in Chauvin on May 12, 2015. He provided the requisite information and

completed the necessary documentation, including the “Attorney-Client Contract,” for the

Defendants to file his Subsistence Claim. Gamberella’s Subsistence Claim was denied by BP for

being incomplete. Again, the Defendants filed his claim but knowingly failed to include specific

documents required by the BP Settlement Agreement. Gamberella received the same “denial”



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letter from Defendants in February or March of 2019 -- likewise dated October 31, 2018.

       Adam J. Hebert attended a community meeting hosted by the Defendants at the Lil

Caillou School in Chauvin on May 29, 2015. He provided the requisite information and

completed the necessary documentation, including the “Attorney-Client Contract,” for the

Defendants to file his Subsistence Claim.       Hebert subsequently made multiple calls to

Defendants for updates on the status of his Subsistence Claim. He was repeatedly told it was

“still pending.” However, in truth and in fact, the Defendants never filed his Subsistence Claim

with DHECC. Like the other Plaintiffs, he received the same “denial” letter from Defendants in

February or March of 2019 - - likewise dated October 31, 2018.

       Fred Ledet also attended the community meeting hosted by the Defendants at the

Chackbay Volunteer Fire Station on June 8, 2015 (the BP Claim filing deadline). He provided

the requisite information and completed the necessary documentation, including the “Attorney-

Client Contract,” for the Defendants to file his Subsistence Claim. Ledet subsequently made

multiple calls to the Defendants for updates on the status of his Subsistence Claim. He was

repeatedly told it was “still pending.”     Unfortunately, the Defendants failed to file his

Subsistence Claim with DHECC by the June 8, 2015 deadline. Like the other Plaintiffs, he

received the same “denial” letter from Defendants in February or March of 2019 -- likewise

dated October 31, 2018.

       Stanwood Moore, Jr. attended a community meeting hosted by the Defendants at the Lil

Caillou School in Chauvin on May 11, 2015. He provided the requisite information and

completed the necessary documentation, including the “Attorney-Client Contract,” for the

Defendants to file his Subsistence Claim. The Subsistence Claim on behalf of Moore was denied

for being incomplete because Defendants filed it, but knowingly failed to include specific



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documents required by the BP Settlement Agreement. Like the other Plaintiffs, he received the

same “denial” letter from Defendants in February or March of 2019 -- likewise dated October 31,

2018.

         James Scales, III attended a community meeting hosted by the Defendants at the Lil

Caillou School in Chauvin on June 2, 2015. He provided the requisite information and completed

the necessary documentation, including the “Attorney-Client Contract,” for the Defendants to

file his Subsistence Claim. Scales subsequently made multiple calls to the Defendants for

updates on the status of his Subsistence Claim. He was repeatedly told it was “still pending.”

However, in truth and in fact, the Defendants had never filed a Subsistence Claim for Scales.

Like the other Plaintiffs, he received the same “denial” letter from Defendants in February or

March of 2019 -- likewise dated October 31, 2018.

         These Plaintiffs are just some of the many claimants along the Gulf Coast who contracted

with the Defendants in order for the Defendants to properly file their Subsistence Claims.

Unfortunately, the Defendants failed to do so. Defendants allowed their self-interest to take

precedence and to become the primary motivating factor by handling as many Subsistence

Claims as they possibly could. By doing so, their avaricious self-interest exceeded and overrode

their individual client’s interests. Defendants knew or should have known they were understaffed

and incapable of processing all of their clients’ Subsistence Claims. Allowing clients to enter

into attorney-client contracts until the late hours of the June 8, 2015 deadline was reckless,

thoughtless, and a recipe for disaster. Yet, Defendants did so knowingly at their peril. Upon

information and belief, Defendants were advised by their own on-site field representatives that

the facilities should close to allow Defendants’ personnel an opportunity to process, complete,

and file all Subsistence Claims by the June 8, 2015 deadline. Nevertheless, despite these



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warnings, Defendants kept their facilities open until late in the evening on June 8, 2015

continuing to solicit and accept representation for new Subsistence Claimants.

       Defendants continued to accept new claimants at their facilities until late into the night on

June 8, 2015, which required the field agents to continue working into the early hours of the

morning on June 9, 2015 (past the filing deadline) attempting to organize the claimants’

paperwork and prepare it for filing. The Defendants’ cavalier attitude toward their clients

continued unabated over the next few years. When Defendants received incompleteness notices

from DHECC, they either chose to ignore the notices or were simply overwhelmed with the

number of claims they were handling. This neglect resulted in denied claims that simply lacked

documentation that could have and should have been provided by Defendants.

       The Defendants knew of the many non-filed or incomplete claims soon after the June 8,

2015 filing deadline. Yet, Defendants misled Plaintiffs as to the status of their Subsistence

Claims and inexcusably delayed notification to the clients for more than three years about the

“denial” of their claims. Adding insult to injury, Defendants notified Plaintiffs about the “denial”

of their claims by blaming BP instead of acknowledging their own fault and neglect.

       This class action litigation is intended to protect the rights of clients, previously

represented by the Defendants, who lost the opportunity to participate in recovery of their

Subsistence Claims through the BP Settlement Program. Their lost opportunities result solely

from the Defendants’ breach of contract, professional malpractice, and fraud. As a result of

Defendants’ misconduct, none of the Plaintiff class members received any compensation for

their Subsistence Claim through the BP Settlement Program. This suit seeks to recover from the

Defendants the compensation their former clients should have and would have received in

connection with their Subsistence Claims had the Defendants timely filed those claims with all



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documentation and information required by the BP Settlement Agreement.

                                                 1.

      This is a class action lawsuit to recover damages for breach of contract, professional

malpractice, and fraud arising from the Defendants’ actions and inactions committed while

representing the interests of the proposed Class members in the Deepwater Horizon Economic

and Property Damage Settlement Program, in which BP Class members made claims to be

compensated for their subsistence losses caused by the Deepwater Horizon catastrophe that

occurred on April 20, 2010 and the resulting oil spill.

                                            PARTIES

                                                 2.

       Plaintiffs:

       Deborah A. Gaudet, a natural person of the full age of majority, domiciled in and a

citizen of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other

similarly situated persons constituting the Class sought to be certified pursuant to Rule 23 of the

Federal Rules of Civil Procedure;

       Timothy Butler, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Dian Campbell, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Plaquemines, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;



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       Kristine Collins, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Lafourche, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Regina Falgoust, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Abraham Gamberella, a natural person of the full age of majority, domiciled in and a

citizen of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other

similarly situated persons constituting the Class sought to be certified pursuant to Rule 23 of the

Federal Rules of Civil Procedure;

       Adam J. Hebert, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Fred Ledet, a natural person of the full age of majority, domiciled in and a citizen of the

State of Louisiana, Parish of Lafourche, individually, and on behalf of all other similarly situated

persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal Rules of

Civil Procedure;

       Stanwood Moore, Jr., a natural person of the full age of majority, domiciled in and a

citizen of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other

similarly situated persons constituting the Class sought to be certified pursuant to Rule 23 of the



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Federal Rules of Civil Procedure; and

       James Scales, III, a natural person of the full age of majority, domiciled in and a citizen

of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

                                                 3.

        Defendants:

       a)      Howard L. Nations, APC, a Texas corporation doing business in the State of
               Louisiana and within this district;
       b)      The Nicks Law Firm, LLC, a Mississippi limited liability company doing
               business in the State of Louisiana and within this district;
       c)      Rueb & Motta, APLC, a California corporation doing business in the State of
               Louisiana and within this district;
       d)      Joseph A. Motta, Attorney at Law, APLC, a California corporation doing business
               in the State of Louisiana and within this district; and,
       e)      The Rueb Law Firm, APLC, a California corporation doing business in the State
               of Louisiana and within this district; (collectively “Defendants” all of whom
               participated collectively in the solicitation and engagement of BP Subsistence
               Claimants as a joint venture).

                                 JURISDICTION AND VENUE

                                                 4.

       This Court has subject matter jurisdiction over this action pursuant to the Class Action

Fairness Act of 2005 (“CAFA”) because: (i) there are 100 or more class members, (ii) the

aggregate amount in controversy exceeds $5,000,000.00, exclusive of interest and costs, and (iii)

at least one Plaintiff and Defendant are citizens of different states. See 28 U.S.C. § 1332(d).

       To date, undersigned counsel have been engaged by and represent approximately two

hundred fifteen (215) individuals, all of whom contend and believe they have been harmed by

the Defendants in the same manner as the named Plaintiffs herein, and thus, are putative Class

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members. Plaintiffs anticipate the number of potential Class members will only continue to grow

in the coming months. Therefore, CAFA’s minimum requirement of 100 class members has been

easily satisfied. CAFA’s minimum amount in controversy requirement of $5,000,000.00 is also

satisfied. The Plaintiffs’ damages are easily calculated by using the “Subsistence Loss Formula”

described in the BP Settlement Agreement and created by the BP Settlement Program. This

formulaic calculation makes the computation of each Class member’s subsistence loss a simple

mathematical equation which involves inputting data and values based on charts created by the

BP Settlement Program. The “Subsistence Loss Formula” used by DHECC to calculate total

compensation is below:




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If the “Subsistence Loss Formula” is applied to those Plaintiffs for whom documentation has

been made available, an average Subsistence Claim of approximately $44,600.00 has been

determined. Thus, the amount in controversy related to the presently represented two hundred

fifteen (215) Plaintiffs will be approximately $9,589,000.00 – well above CAFA’s $5,000,000.00

minimum requirement.

       Further, CAFA’s diversity requirement is also satisfied. In this case, each named Plaintiff

is a citizen of Louisiana. The principal place of business of Howard L. Nations, APC is Texas.

The Nicks Law Firm, LLC is solely owned by its member, Shantrell Nicks, a citizen of

Mississippi. The principal place of business of Rueb & Motta, APLC is California. The principal

place of business of Joseph A. Motta, Attorney at Law, APLC is California. The principal place

of business of The Rueb Law Firm, APLC is California.

       Additionally, this Court also has diversity jurisdiction under 28 U.S.C. § 1332(a) because

all of the named Class representatives and the Defendants are completely diverse and the claim

of Abraham Gamberella, a proposed Class Representative, against the Defendants exceeds

$75,000. Gamberella possessed a Subsistence Claim individually and on behalf of his three (3)

dependents. Gamberella regularly fished in Madison Bay, Wonder Lake, and Lake Barré in

Terrebonne Parish and Elmer’s Island in Jefferson Parish. Unfortunately, due to the BP oil spill,

he was unable to fish at his regular locations from April 20, 2010 to March 7, 2012. Due to the

closed areas, Gamberella lost the ability to harvest his normal amounts of croaker, sheepshead,

drum, redfish, flounder, speckled trout, shrimp, and crabs. Applying the BP Settlement

Program’s “Subsistence Loss Formula” to the information Gamberella provided the Defendants

to file his Subsistence Claim yields a loss amount for Gamberella in excess of $100,000. Because

this Court has diversity jurisdiction of Gamberella’s claim, and he is a proposed Class



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Representative, this Court has supplemental jurisdiction over the other Class members’ claims

pursuant to 28 U.S.C. § 1367 regardless of whether the CAFA requirements are satisfied.1

                                                     5.

        Venue is proper in the Eastern District of Louisiana pursuant to 28 U.S.C. § 1391(b)(2)

and (3) because a substantial number of the events or omissions giving rise to the Plaintiffs’

claims occurred in this district. It is uncontradicted that the BP Oil Spill caused damage to the

residents of this district, including members of the proposed Plaintiff Class. Thus, the Plaintiffs’

claims for damages and losses from the BP Oil Spill originated in this district. Litigation for

recovery of economic damages caused by the BP Oil Spill was held and concluded in this

district. Moreover, Defendants purposely availed themselves in this district by soliciting the

Plaintiffs, who reside in this district, by advertising and holding “Fishing Claim Centers/Meeting

Locations” in this district. Further, Defendants received substantial revenues from their

representation of other claimants residing in this district. Additionally, Nations Law Firm, in

defending a lawsuit against it in Florida, has made jurisdictional representations indicating that

this Court is a proper jurisdictional forum for BP Subsistence Claims. Defendant wrote: “It

cannot be disputed that the Plaintiffs’ claims arise from litigation based in Louisiana Federal

Court and that the Court of the Eastern District of Louisiana is the proper jurisdiction for this

matter to be brought.”2




1
  See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 549 (2005) (“We hold that, where the other
elements of jurisdiction are present and at least one named plaintiff in the action satisfies the amount-in-
controversy requirement, §1367 does authorize supplemental jurisdiction over the claims of other plaintiffs in
the same Article III case or controversy, even if those claims are for less than the jurisdictional amount
specified in the statute setting forth the requirements for diversity jurisdiction.”)
2
  See Defendant’s Supplemental Exhibit and Memorandum (Florida litigation). The Downs Law Group, A
Florida Corporation v. no. 18-12590-CA The Nations Law Firm, Rueb & Motta, PLC, The Nicks Law Firm,
LLC and Litigation Settlement Services, Inc.

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                                 FACTUAL ALLEGATIONS

                                                6.

         The Deepwater Horizon was a semi-submersible oil drilling rig owned by Transocean

and leased, chartered, and operated by BP approximately fifty (50) miles southeast of Venice,

Louisiana in the Gulf of Mexico. At approximately 10 o’clock p.m. on April 20, 2010, while the

Deepwater Horizon was performing oil and gas operations off the coast of Louisiana, an

explosion occurred on the vessel, causing its crewmembers to be thrown overboard and killing at

least 11 crewmembers aboard the vessel. The explosion and subsequent fire caused such

significant damage that the Deepwater Horizon subsequently sank in approximately 5,000 feet of

water.

                                                7.

         As a result of the explosion and the subsequent sinking of BP’s Deepwater Horizon, it

has been estimated that 4.9 million barrels of oil leaked into the Gulf of Mexico between April

20, 2010 and July 15, 2010. The 87-day oil spill caused significant ecological and economical

damage to Louisiana, Mississippi, Alabama, Florida, and Texas.

                                                8.

         Due to the devastation caused to the coastal marine and wildlife habitats by the BP Oil

Spill, the Louisiana Department of Wildlife and Fisheries, on April 30, 2010, closed a significant

number of coastal boundaries and waterways for recreational and commercial fishing. The other

Gulf states followed with similar recreational and commercial fishing directives and closures.

                                                9.

         The members of the proposed Plaintiff Class reside in Louisiana, Mississippi, Alabama,

and Florida, where they, at all times prior to the BP Oil Spill, caught and harvested natural



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resources from the Gulf of Mexico, such as fish, seafood, and game in a traditional manner to

sustain their basic personal and family dietary, economic, and security needs. Plaintiffs intended

to continue catching and harvesting fish, seafood, and game for the purpose of subsistence use.

However, as a result of the closures of coastal boundaries, waterbodies, and waterways, the

Plaintiffs were unable to harvest fish, seafood, or game in the closed areas. Typically, these

geographically closed areas were used by the Plaintiffs because of their proximity to the

Plaintiffs’ residences. Consequently, the Plaintiffs sustained a significant loss of subsistence use

of the traditionally abundant coastal natural resources.

                                                10.

       At all times during which the Plaintiffs used or intended to use the coastal natural

resources for subsistence, the Plaintiffs maintained and held valid government-issued licenses to

harvest fish, seafood, and game in their respective home states.

                                                11.

       At all relevant times, the Plaintiffs were not fishing or hunting for sport. Instead,

Plaintiffs harvested natural resources from the Gulf of Mexico for subsistence purposes.

                                                12.

       Multiple class action lawsuits were filed against BP and other parties responsible for the

BP Oil Spill to recover losses, including economic and property damage, sustained as a result of

the BP Oil Spill. These lawsuits were consolidated in a Multidistrict Litigation proceeding (MDL

No. 2179) in the United States District Court for the Eastern District of Louisiana.




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                                               13.

       Ultimately, the matters pending in MDL No. 2179 resulted in the Deepwater Horizon

Economic and Property Damages Settlement Agreement (“BP Settlement Agreement”), which

was certified by the Court on December 21, 2012.

                                               14.

       The BP Settlement Agreement established the Economic and Property Damages

Settlement Class (“BP Class”), which included persons and entities who were located in

geographically defined areas around the Gulf Coast and who sustained losses as a result of the

BP Oil Spill.

                                               15.

       For eligible claimants, the BP Settlement Agreement provided for payment of economic

loss and property damage claims for certain damage categories: Business Economic Loss,

Individual Economic Loss, Subsistence Loss, Coastal Real Property Damage, Wetlands Real

Property Damage, and Vessel of Opportunity Charter Payments.

                                               16.

       BP Class members were able to assert their rights with respect the BP Settlement

Agreement and to receive compensation for their BP Oil Spill related losses by filing claims (i.e.

BP Claims) with the Deepwater Horizon Economic Claims Center (“DHECC”), which

administered claims established by the BP Settlement Agreement. Failure by the claimant or his

counsel (in this case Defendants) to include or submit the required documents rendered a claim

ineligible for compensation. [See ¶¶ 31 and 37 for required information and documentation for a

valid, eligible Subsistence Claim as per the DHECC requirements.]




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                                              17.

       The deadline to file all BP Claims, including Subsistence Claims, with DHECC was June

8, 2015 (except for those claims carved out previously in the Seafood Compensation Program -

compensation for commercial fishermen - which are not at issue in this litigation). The deadline

to file BP Claims was promulgated by the DHECC so that all interested parties and their counsel

were aware of the deadline. The following notice of the BP Claims filing deadline was posted on

the DHECC website:




       10.    June 8, 2015 Filing Deadline (Posted May 18, 2015). The final
                 deadline for filing all Deepwater Horizon Economic and Property
                 Damages Settlement Program claims is June 8, 2015. This
                 deadline does not apply to or extend the deadline for filing
                 claims under the Seafood Compensation Program, which
                 deadline has already expired. Claim Forms for filing of all new
                 claims (other than those under the Seafood Compensation
                 Program) must be completed and signed in accordance with
                 Section 4.4.5 of the Settlement Agreement, and submitted to
                 the Settlement Program on or before June 8, 2015.Click here to
                 view an Alert with additional information.




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                                                18.

      To capitalize on the BP Settlement Agreement, Defendants solicited the Plaintiffs and

thousands of other individuals who were entitled to compensation for a subsistence loss related

to the BP Oil Spill. Specifically, Defendants sought to represent the interests of the Plaintiffs and

others by agreeing to prepare and file their BP Claims with DHECC in order for the Plaintiffs

and others to receive compensation for BP Oil Spill related subsistence losses. In consideration

for the legal representation of their clients, including the Plaintiffs, the Defendants received

attorneys’ fees of 25% of the amount of the client’s recovery.


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                                               19.

       During the months leading up to the June 8, 2015 deadline, one method of client

solicitation used by the Defendants was to advertise meetings held by the Defendants at locations

and times the Defendants commonly called “Fishing Claim Centers/Meeting Locations” in

Louisiana, Mississippi, Alabama, and Florida. The Defendants advertised their “Fishing Claim

Centers/Meeting Locations” as locations at which BP class members could file their BP Claim,

but the Defendants actually used these advertised meetings as an opportunity to attract BP Class

members to the locations in order to engage the clients for legal representation in the BP

Settlement Agreement claims process. The Defendants’ “Fishing Claim Centers/Meeting

Locations” were advertised by the Defendants as provided below:

LOUISIANA
Chauvin                                   Belle Chasse                    Fourchon
5756 Hwy. 56                              8558 Hwy 23                     Moran’s Marina
Project Learn (Old Lil Caillou School)    Law Office of Terry Sercovich   27900 Highway 1
Monday‐Saturday 9AM‐1PM                   Monday‐Friday 9AM‐6PM           Conference Room
Open Memorial Day Weekend                                                 Memorial Day Weekend
(Sat.-Mon.) 9AM-5PM                                                       (Sat.-Mon.) 9AM-5PM


Golden Meadow                             Jean Lafitte                    Violet/St. Bernard’s
2406 South Bayou Dr.                      2608 Jean Lafitte Blvd.         2621 Colonial Blvd.
American Legion Post 259                  The Lafitte Art's Center        Our Lady of Lourdes Church
Monday‐Saturday 9AM‐1PM                   Monday‐Friday 10AM‐7PM          Secondary Building
Open Memorial Day Weekend                 Open Memorial Day Weekend       Monday-Friday 9AM-5PM
(Sat.-Mon.) 9AM-5PM                       (Sat.-Mon.) 9AM-5PM


Chackbay                                  Grand Isle
100 Highway 304                           3101 Highway 1
Volunteer Fire Station                    Grand Isle Multiplex
Monday‐Saturday 9AM‐1PM                   Thurs. May 21 and Fri. May 22
Open Memorial Day Weekend                 8AM-3PM
(Sat.-Mon.) 9AM-5PM


Chalmette                                 Cocodrie


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3400 Paris Rd                             Houma Oilman’s Rodeo
Best Western                              8239 Highway 56
May 23, 24, 25 & 30, 31 9AM‐5PM           Harbor Light Marina
Open Memorial Day Weekend                 Thurs. May 21-Sat. May 23
(Sat.-Mon.) 9AM-5PM                       3PM-7PM




MISSISSIPPI
Gulfport                                  Gulfport                     Pascagoula
1600 E. Beach Blvd.                       1806 25th Ave.               4800 Amoco Rd.
Courtyard Marriott                        Nicks Law Firm               Holiday Inn Express
Harbor & Bay Rooms                        Monday-Saturday              Pascagoula-Moss Point
May 23, 24, 30, and 31                    9AM-5PM                      May 23, 24, 30 and 31
9AM-5PM                                                                9AM-5PM


ALABAMA
Mobile                                    Mobile                       Gulf Shores
600 West I-65 Service Rd. South           7220 First St.               3947 Gulf Shores Pkwy.
Ashbury Hotel Conference Center           Nicks Law Firm               Gulf Shores Staybridge Suites
May 23, 24, 30 and 31                     Monday-Friday 10AM-9PM       Magnolia Meeting Room
9AM-5PM                                   Saturday 10AM-2PM            May 23, 24, 30 and 31
                                                                       9AM-5PM
FLORIDA
Pensacola                                 Pensacola
7813 N. Davis Hwy                         3298 Summit Blvd., Ste. 32
Holiday Inn                               Law Offices of Dan Sanders
Garden Room                               Ameriprise Financial Bldg.
May 23, 24, 30 and 31                     Monday-Thursday 9AM-4PM
9AM-5PM                                   Friday 9AM-12PM



                                               20.

         Defendants’ “Fishing Claim Centers/Meeting Locations” were successful in attracting

clients, as Defendants executed thousands of attorney-client agreements with newly engaged

clients leading up to and on the DHECC June 8, 2015 deadline.




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                                                21.

       The Plaintiffs herein were members of the BP class by virtue of their status as residents

of Gulf Coast states at all relevant times and who sustained a subsistence loss as a result of the

coastal boundary and waterway closures necessitated by the BP Oil Spill. The BP Settlement

Agreement expressly provided for a subsistence loss “Damage Category” and the BP Settlement

Agreement provided for payment of settlement amounts to BP class members, such as the

Plaintiffs, who sustained a subsistence loss.

                                                22.

       On June 1, 2015, Plaintiff Deborah A. Gaudet attended the Defendants’ “Fishing Claim

Centers/Meeting Locations” at Old Lil Caillou School in Chauvin, Louisiana where she executed

the Defendants’ contingency fee agreement, titled “Attorney-Client Contract,” to engage the

Defendants to prepare and file her individual BP Claim in order to be compensated for her BP

Oil Spill-related subsistence losses. The “Attorney-Client Contract” was executed by Plaintiff

Deborah A. Gaudet and was also executed by Howard L. Nations on behalf of the

Defendants. The executed “Attorney-Client Contract” is provided below.

       Likewise, Timothy Butler, Dian B. Campbell, Kristine Collins, Regina Falgoust,

Abraham Gamberella, Adam J. Hebert, Fred Ledet, Stanwood Moore, Jr., and James Scales, III,

executed an “Attorney-Client Contract” identical to the one signed by Gaudet. All of the

Attorney-Client contracts were provided to the Plaintiffs by Defendants’ representatives or agents

at the facilities. Some of the contracts had been signed previously by one of the Defendants and

others were awaiting signature by one of the Defendants. The contracts are provided below.




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                                                23.

      Based on the express terms of the “Attorney-Client Contract,” the Defendants obligated

themselves to “prosecute all claims against all necessary defendants arising out of Event: BP

Deepwater Horizon Oil Spill Class Action Settlement,” including preparing and filing the

Plaintiffs’ BP Subsistence Claim with the DHECC as outlined in the BP Settlement Agreement.

Thus, the Defendants were obligated contractually to competently and diligently represent the

Plaintiffs’ legal rights in the BP Claims process.

                                                24.

       Once the Plaintiffs engaged the Defendant law firms, their access to the DHECC online

portal, which maintained all documents and notices for each claimant, was restricted solely to

their lawyers, without any personal access.

                                                25.

       The Plaintiffs relied upon the representations of the Defendants, specifically, that the

Defendant law firms would prosecute their respective BP Claim competently and zealously to

maximize the Plaintiffs’ recovery for their BP Oil Spill-related subsistence loss.

                                                26.

      The Plaintiffs who visited the Defendants’ intake facilities signed a “sign-in” sheet at the

entrance of the facility and received an intake packet provided by the Defendants. Each Plaintiff

executed the intake packet documents, including a pre-signed “Attorney-Client Contract,”

Authorization Form providing Defendants the authority to obtain the claimant’s pertinent state

hunting and fishing license, IRS-Form W-9, and initial intake forms for the claimant to provide

personal information and loss of species information. Plaintiffs were told the intake packets

included all of the required documentation for the Defendants to prepare and file Plaintiffs’ BP



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Subsistence Claim in order to receive compensation for their losses.

                                               27.

      Tragically for the Plaintiff Class, the Defendants failed to timely file complete BP Claims

prior to the June 8, 2015 deadline. Consequently, the Plaintiff Class lost the opportunity to

receive an award for their BP Subsistence Claim with the DHECC because the Defendants failed

to comply with the claim-filing deadline and the mandatory filing requirements.

                                               28.

      At all material times after June 8, 2015, the Defendant law firms misrepresented this

outcome determinative fact, namely that the Defendants had never filed a timely and complete

claim on behalf of the Plaintiff Class members.

                                               29.

       Since the Plaintiff Class was prohibited from communicating with DHECC or otherwise

authorized to receive status updates on their BP Claim through the DHECC portal, the Plaintiff

Class contacted the Defendant law firms usually by telephone to inquire about updates on the

status of their BP Claim. On all of those occasions, Defendants advised Plaintiff Class members

that their BP Claim was “still pending” before the DHECC in the BP Settlement Program.

                                               30.

       But for the Defendants’ failure to timely file a complete BP claim on behalf of each

Plaintiff Class member, the Plaintiff Class would have received awards from DHECC

compensating them for their BP Oil Spill related-subsistence loss.

                                               31.

       At all material times, the Plaintiff Class members satisfied the required prongs of the BP

Settlement Agreement in order to receive a compensation award from DHECC for their



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subsistence loss. First, a) the Plaintiff Class members satisfied the “Subsistence Claimant”

definition in that they fished and hunted to harvest, catch, and consume Gulf of Mexico natural

resources, such as fish, seafood, and game, in a traditional and customary manner to sustain their

basic personal and family dietary and economic security needs, and b) Plaintiff Class members

relied upon the subsistence resources that had been diminished or restricted in the geographic

regions resulting from the BP Oil Spill. Second, the Plaintiff Class members provided to the

Defendants sufficient documentation to establish the quantity of Gulf of Mexico natural

resources they lost during the specified time period. Third, the Plaintiff Class members provided

to the Defendants copies of their state-issued hunting and fishing licenses for the fiscal year

2009-2010 and/or provided Defendants authorization forms to obtain the required hunting and

fishing licenses for the pertinent year.

       Thus, each Plaintiff Class member gave the Defendants all documentation necessary for

the Defendants to file a valid and eligible Subsistence Claim on the Plaintiff’s behalf, and the

Plaintiff Class members would have received a compensation award from DHECC for their

subsistence losses if Defendants had properly filed and completed their BP Subsistence Claim.

                                               32.

       On March 14, 2019, Deborah A. Gaudet received a form letter from the Defendant law

firms. Curiously, the letter was dated October 31, 2018, but not postmarked until March 12,

2019. For the first time, this letter communication from the Defendant law firms informed Mrs.

Gaudet her “claim was one of many which were denied by BP.” However, no Subsistence

Claim had ever been filed on behalf of Gaudet. The Defendants’ “denial” letter further specified

that Gaudet and the Defendant law firms were “left with no possibility of an effective appeal.”

The letter listed nine (9) examples of reasons that properly filed claims had been denied.



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However, the Defendants’ failure to timely file a complete claim on the claimant’s behalf was

noticeably absent from the list. A copy of this denial letter is provided below.

         In February or March of 2019, Plaintiff Butler also received an identical form letter from

the Defendant law firms stating that his Subsistence Claim had been denied. In truth and in fact,

the Defendants never filed a Subsistence Claim on his behalf. A copy of this denial letter is

provided below.

         In February or March of 2019, Plaintiff Campbell also received an identical form letter

from the Defendant law firms stating that her Subsistence Claim had been denied. In truth and in

fact, the Defendants never filed a Subsistence Claim on her behalf. A copy of this denial letter is

provided below.

         In February or March of 2019, Plaintiff Falgoust received an identical form letter from

the Defendant law firms stating that her Subsistence Claim had been denied. In truth and in fact,

Falgoust’s Subsistence Claim had been denied because the Defendants knowingly failed to

include and submit all of the required documentation to DHECC. Simply put, Defendants failed

to timely and properly file a colorable Subsistence Claim for Falgoust. A copy of this denial

letter is provided below.

         In February or March of 2019, Plaintiff Hebert received an identical form letter from the

Defendant law firms stating that his Subsistence Claim had been denied. In truth and in fact, the

Defendants never filed a Subsistence Claim on his behalf. A copy of this denial letter is provided

below.

         In February or March of 2019, Plaintiff Moore received an identical form letter from the

Defendant law firms stating that his Subsistence Claim had been denied. In truth and in fact,

Moore’s Subsistence Claim had been denied because the Defendants knowingly failed to include



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and submit all of the required documentation to DHECC. Simply put, Defendants failed to timely

and properly file a colorable Subsistence Claim for Moore. A copy of this denial letter is

provided below.

       In February or March of 2019, Plaintiff Scales received an identical form letter from the

Defendant law firms stating that his Subsistence Claim had been denied. In truth and in fact, the

Defendants never filed a Subsistence Claim on his behalf. A copy of this denial letter is provided

below.3




3
  The remaining proposed Class Representatives also reported receiving the same letter, around the same
time, but they no longer possess copies of the correspondence.

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                                                 33.

        After receiving their denial letters from the Defendant law firms, many of the Plaintiff

Class members executed “Request for Change in Representation Status,” which, for the first

time, allowed them to gain access to their claim-related information with DHECC.

                                                 34.

        After gaining access to their information, Plaintiff Class members learned that

Defendants had failed to timely and properly file complete and colorable BP Subsistence Claims

along with all documentation and information the BP Settlement Agreement required to be

included with a Subsistence Claim form.

                        CLASS REPRESENTATION ALLEGATIONS

                                                 35.

        This action is appropriate for determination pursuant to federal class action procedure

because there is a well-defined community of interest in the litigation and the proposed Class is

easily ascertainable. Accordingly, the Plaintiffs bring this action on their own behalf and on

behalf of a class of Plaintiffs (“Plaintiff Class”) that constitutes the following proposed class:

        All BP Class members, represented by Defendant law firms in the BP Deepwater
        Horizon Oil Spill Class Action Settlement Program, who lost the opportunity to
        participate in the BP Settlement Program because the Defendants failed to timely
        file the claimant’s BP Subsistence Claim or failed to timely provide all required
        documentation for the claimant’s BP Subsistence Claim.

        Plaintiffs reserve the right to propose subclasses or to modify the above class definition,

based on the evidence adduced in discovery, or as necessary and appropriate. Specifically, this

class is appropriate for certification because the prerequisites of Rule 23(a) and 23(b)(3) are

satisfied.




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                                               36.

       Numerosity:    Upon information and belief, the Defendants failed to properly and timely

file hundreds of their clients’ Subsistence Claims. Defendants’ former field representatives have

indicated that the Defendant law firms signed fee agreements to file Subsistence Claims on

behalf of at least 17,000 claimants across the Gulf Coast. Defendants’ representatives have

further indicated that an inexact number of these claims were incomplete (i.e. lack all required

documentation) when filed or were not timely filed. Nevertheless, undersigned counsel presently

represent Plaintiffs and other putative Class members who claim they lost the opportunity to

recover subsistence losses as a result of the Defendants’ negligent conduct.

       Since the members of the putative Class are residents of Louisiana, Mississippi,

Alabama, and Florida, they are geographically dispersed throughout the Gulf Coast, and joinder

of all such persons is impractical. Because of the large number of putative Class members and

their being dispersed across four Gulf Coast states, this action is the most efficient means of

handling these claims and the best way to ensure that the interests of the Plaintiff Class members

are preserved.

                                               37.

       Commonality: Common questions of fact and law exist as to all members of the Plaintiff

Class. The Plaintiffs suffered the same injury (i.e. lost opportunity to be compensated for their

subsistence losses through the BP Settlement Program) because of the Defendants’ common

course of conduct – failing to file timely and complete Subsistence Claims that included all

documents and information, required per the BP Settlement Agreement. In order for a

Subsistence Claim to be valid and eligible for recovery, the BP Settlement Agreement required a

BP Class member or his counsel (in this case Defendants) to submit only the two following



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documents: (1) a complete Subsistence Claim form or sworn written statement;4 and, (2) a copy

of claimant’s fishing license (valid before and at the start of loss period).5 The Defendants’

failure to submit any of the required documents in connection with a Plaintiff’s Subsistence

Claim, regardless of whether it was timely filed, rendered it categorically ineligible, just as the

Defendants’ failure to file a Plaintiff’s Subsistence Claim by the June 8, 2015 deadline rendered

it categorically ineligible.

        The Defendants failure to timely provide required documentation in connection with the

Plaintiffs’ Subsistence Claims is a course of conduct common to all members of the proposed

Class. As a result, all members of the proposed Class suffered a common injury – the lost

opportunity be compensated for their Subsistence Claim because their Subsistence Claims were

categorically ineligible.

        These questions predominate over any questions affecting individual Plaintiff Class

members. These common factual and legal questions include, but are not limited to:


            a) Whether Defendants failed to timely file and provide to DHECC, in connection
               with the Plaintiff Class members’ Subsistence Claims, all documentation the BP
               Settlement Agreement requires to be submitted in connection with a valid and
               eligible Subsistence Claim;
            b) Whether Defendants failed to properly pursue BP Claims with the DHECC on
               behalf of Plaintiff Class members;
            c) Whether Defendants concealed from their clients the fact that timely and
               complete BP claims had not been filed with DHECC on behalf of the Plaintiff
               Class members;
            d) Whether Defendants intentionally and knowingly made false and misleading

4
  The Complete Subsistence Claim Form or Sworn Written Statement was required to be signed by the
claimant verifying the location of their fishing and/or hunting grounds (map and narrative identification);
the equipment they used to fish and/or hunt; the number of people in their family unit who relied on
natural resources they caught; the specific species and amounts of natural resources they relied upon; and
the percentage of subsistence resources they relied on pre-Spill that came from areas that were closed or
impaired due to or resulting from the Spill.
5
  See Exhibit 9(C) of the BP Settlement Agreement.

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               representations to the Plaintiff Class members regarding the status of BP
               Subsistence Claims with the DHECC by sending Class members the form
               “denial” letter indicating their Subsistence Claims had been “denied”;
           e) Whether Defendants collectively and/or individually owed a duty to the Plaintiff
              Class members;
           f) Whether Defendants breached their respective duties owed to the Plaintiff Class
              members;
           g) Whether the Defendants’ actions were the cause of Plaintiff Class members’
              inability to participate in the BP Settlement Program regarding their Subsistence
              Claims; and
           h) Whether Plaintiff Class members are entitled to monetary damages, attorney’s
              fees, punitive damages, and/or other legal or equitable remedies and, if so, the
              nature of any such relief.

                                               38.

       Typicality: Plaintiffs’ claims are typical and representative of the claims of the entire

Class. All Plaintiff Class members were injured and damaged through Defendants’ substantially

uniform misconduct and breach of their fiduciary duty to all Plaintiff Class members. Defendants

failed to timely file complete and colorable Subsistence Claims with DHECC. Defendants

engaged in a common course of conduct that did not vary from Plaintiff to Plaintiff, ensuring that

common questions of law and fact will predominate over any individualized issues, as proof as to

one constitutes proof as to all. All Plaintiff Class members have suffered the same ascertainable

monetary and economic harm, namely the lost opportunity to participate in the BP Settlement

and to receive compensation for their Subsistence Claims.

                                               39.

       Adequacy: The named Plaintiffs will fairly and adequately protect and the interests of the

Class. The named Plaintiffs are prepared to undertake the representation of the entire proposed

Class. No named Plaintiff has any interest that conflicts with an interest of any putative Class

member. No named Plaintiff has any claim that is antagonistic to, incompatible with, or conflicts


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with, any claim of a putative absent Class member. Each named Plaintiff is a putative Class

member. Each named Plaintiff suffered the same harm as each putative Class member in that

each of them lost his or her opportunity to participate in the BP settlement and to be

compensated for his or her Subsistence Claim. All Class members assert the same causes of

action.

          Additionally, the Plaintiffs have retained undersigned counsel who are experienced in

complex class action litigation and who intend to pursue this class action vigorously and

competently. Class counsel has adequate financial resources to assure the interests of the Plaintiff

Class will be adequately protected.

                                                 40.

          Superiority:   Class action adjudication of the Plaintiffs’ disputes is superior to other

available methods for the fair and efficient adjudication of the controversy. Considering the

putative Class is composed of thousands of members, adjudication of each individual Plaintiff

Class member’s claims would cause increased expenses and delays to all parties and to the

judicial system in determining the legal and factual issues common to all claims related to all

parties herein. In the identification of claims for each putative Class, the claims of the putative

Class will be established by class-wide proof. Damages for each Plaintiff will be determined by

formulaic calculation based on the previously recognized and widely accepted BP Settlement

Agreement. In other words, the common questions of law and fact identified in ¶ 37 will be

established through generalized proof. The questions of law and fact related to the class are far

more substantial than any individualized issue. The named Plaintiffs seeking to be Class

Representative have no interest in individually controlling their separate actions because they

allege class adjudication will be more effective and efficient.



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       Moreover, there are no existing legal malpractice or breach of contract claims regarding

Defendants’ mishandling of BP Subsistence Claims outside of this lawsuit. Certification would

act to centralize these proceedings against the Defendants. Attempting to adjudicate each Class

member’s claim individually would mean adjudication of thousands of nearly identical cases

which could potentially yield inconsistent, varying, or contradictory results. Handling the

litigation as a class action presents far fewer management difficulties and provides the benefit of

a single adjudication on common issues of fact and law, economies of scale, and comprehensive

supervision by a single court.

       There are common issues related to the identical Attorney-Client contract executed by all

Plaintiff Class members (duty), the same failure to file a timely and complete Subsistence Claim

on the claimants’ behalf (breach), the same reason for the claimants’ lost opportunities to

participate in the BP settlement for their Subsistence Claims (causation), the same loss of

compensation based on a formulaic calculation (damages), and the same denials by Defendants

to the Plaintiff Class members (fraud). What occurred herein by the Defendants was a common

course of conduct and adjudicating these matters separately could easily subject the Defendants

to varying standards of care and the Plaintiff Class members to drastically different recoveries.

To the contrary, class adjudication provides consistency, efficiency, and finality for all parties.

This Court is the ideal adjudicator of this matter utilizing class action procedure.

       There are no issues, problems, or concerns with the management of the litigation. Claims

will be easily adjudicated on a class-wide basis due to the striking similarities among the claims

of all members of the proposed Class. Any issues that may arise can be easily overcome by a

proper and effective trial plan. In sum, class action procedure will streamline this litigation and

lead to a quick and consistent resolution for all parties herein. It will be more efficient and



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economical and will enable this Court to manage the litigation more effectively.

                                               41.

       Predominance: The common conduct of the Defendants presents predominant issues of

both law and fact. The Defendants’ liability predominates over any potential individualized

issues. Though Defendants’ misconduct stretched across the states of Louisiana, Mississippi,

Alabama, and Florida, all of the Plaintiff Class members’ claims arise out of a common course of

conduct by the Defendants through their joint venture. The Defendants engaged in a common

course of conduct and victimized the entire Plaintiff Class. The duties all arose from the

Defendants’ contractual agreements with the Plaintiffs – all of the contracts are identical. The

breaches all arose from the Defendants’ failure to timely file complete and colorable Subsistence

Claims on behalf of the putative Class members – the question of breach is the same for all

putative Class members. The question of whether Defendants’ failure to file a complete and

colorable claim caused damage is identical for each and every member of the putative Class.

Likewise, the Defendants’ tortious conduct caused the same injury to each putative class member

– the lost opportunity be compensated for his or her subsistence losses through the BP

settlement. Individual damages do not predominate because formulaic calculation has been

provided by the DHECC Subsistence Loss Formula. Moreover, proof of each putative Class

members’ claim will require duplicating the production of evidence, persons, discovery,

documents, witnesses, and experts. No individual disputes predominate over these common

questions.




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                                    CAUSES OF ACTION

                         CLAIM NO. 1 – BREACH OF CONTRACT

                                               42.

       Plaintiffs re-allege and incorporate by reference the allegations contained in all preceding

paragraphs of this First Amended Class Action Complaint as though set forth fully herein.

                                               43.

       The “Attorney-Client Contract” executed by members of the Plaintiff Class and any

representative of the Defendants, created an attorney-client relationship between the Plaintiff

Class member(s) and the Defendants whereby the Defendants agreed to represent the interests of

the Plaintiff Class member(s) in the BP Settlement Agreement claims process.

                                               44.

       The Defendants agreed to protect and advance the interests of the Plaintiff Class

members. Particularly, without limitation, the Defendants agreed to properly prepare and timely

file BP Subsistence Claims with DHECC on behalf of the Plaintiff Class members in order to

recover losses sustained by the Plaintiff Class members as a result of the BP Oil Spill.

Accordingly, the Defendants also agreed, and were obligated, to inform the Plaintiff Class

members of information and documentation necessary to properly prepare and file the respective

BP Claims. Moreover, Defendants were obligated to receive and process the claimant provided

information and documentation in furtherance of the Plaintiff Class members’ BP Subsistence

Claims.




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                                               45.

       The Defendants agreed, and were obligated, to communicate honestly and promptly with

the Plaintiff Class members and to advise whether additional information or documentation was

required to properly prepare and timely file their BP Subsistence Claim.

                                               46.

       Defendants were aware of the BP Settlement Program’s deadlines to file BP Claims, as

DHECC promulgated and explicitly referenced the June 8, 2015 deadline in numerous

advertisements and public announcements promulgated by the Defendants during May and June

of 2015.

                                               47.

       The losses sustained by the Plaintiff Class members were the direct and proximate result

of the Defendants’ breaches of obligations created by the attorney-client contract that existed

between the Defendants and the Plaintiff Class members. The Defendants’ specific contractual

breaches include, but are not limited to:

           a)     Failing to timely file complete claims with the DHECC on behalf of the

                  Plaintiff Class members;

           b)     Failing to properly handle and pursue claims with the DHECC on behalf of

                  Plaintiff Class members;

           c)     Failing to adequately communicate or assist Plaintiff Class members in

                  connection with their BP Subsistence Claims; and

           d)     Other acts of fault and breaches of obligation which will be shown more fully

                  at trial.




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                                              48.

       As a direct and proximate result of the Defendants’ acts and/or omissions set forth above,

Plaintiff Class members have suffered economic losses. The Defendants are jointly and solidarily

liable to the Plaintiff Class members for damages resulting from Defendants’ contractual

breaches and malpractice.

                                              49.

       The express terms of the “Attorney-Client Contract” executed by the Plaintiff Class

members and the Defendants provide that the “Contract shall be construed under and in

accordance with the laws of the State of Mississippi, and all obligations of the parties created

hereunder are performable in Mississippi.” Accordingly, Mississippi substantive law may apply,

and the Plaintiff Class would be entitled to punitive damages because the Defendants’ failed to

properly and timely file complete BP Subsistence Claims on behalf of the Plaintiff Class

members. Defendants’ failure constitutes gross negligence. Further, Defendants were well-aware

of the BP Claim filing deadline, and their inactions constituted a wanton and reckless disregard

of the economic well-being of the Plaintiff Class members. Soliciting and engaging new clients

up until just hours before the filing deadline, when even their own field-worker advised against

it, and then failing to file timely and complete claims on behalf of the Plaintiff Class members

was and is the essence of callous and reckless disregard to the detriment of the Plaintiff Class

members.




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                                               50.

       As a result of Defendants’ breaches of contract and failure to conform to the applicable

professional standards of care and conduct, Plaintiff Class members are entitled to compensatory

damages in an amount to be determined at trial but at least in an amount in excess of

$5,000,000.00, plus punitive damages, and attorney fees.

                                   CLAIM NO. 2 – FRAUD

                                               51.

       Plaintiffs re-allege and incorporate by reference the allegations contained in all preceding

paragraphs of this First Amended Class Action Complaint as though set forth fully herein.

                                               52.

       Defendants intentionally misrepresented and fraudulently concealed the fact that Plaintiff

Class members’ Subsistence Claims had either not been filed by the deadline established by the

BP Settlement Program or lacked documentation required per the BP Settlement Agreement to

recover on a valid Subsistence Claim.

                                               53.

       Defendants mailed Plaintiff Class members form letters that falsely represented that their

Subsistence Claims had either been timely filed or had been completed by filing all required

documents with DHECC by their law firms.

                                               54.

       These written misrepresentations made by Defendants were made with knowledge of

their falsity, and with the intent that Plaintiff Class members would rely on these false and

misleading statements.




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                                               55.

       Through their letters, Defendants misrepresented that they had timely filed complete

Subsistence Claims on behalf of the Plaintiff Class members. Defendants knew these

representations were false and misleading.

                                               56.

       Through the letters, Defendants further misrepresented that after Defendants had timely

filed complete Subsistence Claims on behalf of the Plaintiff Class members, the Class members’

claims had been denied by BP.         Defendants knew these representations were false and

misleading.

                                               57.

       At the time Defendants made these intentional misrepresentations and material

concealments, the Plaintiff Class members were unaware of the falsity of the Defendants’

misrepresentations and reasonably believed them to be true. For years, the Plaintiff Class

members relied upon Defendants’ misrepresentations concerning the status and disposition of

their BP Subsistence Claims.

                                               58.

       Defendants intentionally and harmfully concealed their gross misconduct for nearly four

(4) years. Any time a Plaintiff Class member called to check on the status of their claim prior to

receiving their form “denial” letter, they were told the same thing with little to no variation –

their claim was “still pending.”

                                               59.

       As a direct and proximate result of Defendants’ deceptive tactics, actual fraud, intentional

misrepresentations, and concealment of material information, the Plaintiff Class members



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suffered economic loss. Thus, Defendants are solidarily liable to the Plaintiff Class members for

damages resulting from Defendants’ intentional misrepresentation of material facts and for actual

fraud.

                                                60.

         As a result of Defendants’ commissions of actual fraud, intentional misrepresentations of

material fact to the Plaintiff Class members, and their failure to conform to the applicable

professional standards of conduct, the Plaintiff Class members are entitled to compensatory

damages in an amount to be determined at trial but at least in an amount in excess of

$5,000,000.00, plus punitive damages, and attorney’s fees.

                                                61.

         Plaintiffs, on behalf of themselves and all other similarly situated persons, demand

judgment against Defendants for monetary damages and/or other remedies.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment as follows:

         a)     An order certifying the proposed Class, designating Plaintiffs as the named

                representatives of the Class, and designating the undersigned class counsel;

         b)     Awarding actual, compensatory, consequential, and punitive damages;

         c)     Awarding restitution;

         d)     Awarding damages for fraudulent conduct;

         e)     Awarding reasonable attorneys’ fees, and costs of this case;

         f)     Awarding prejudgment and post-judgment interest;

         g)     Granting such further relief that this Court deems appropriate under the

                circumstances.



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                                  DEMAND FOR JURY TRIAL

       Plaintiffs request and are entitled to a trial by jury on all issues so triable.

Dated: September 4, 2019

                                                RESPECTFULLY SUBMITTED:


                                                /s/ Jerald P. Block
                                                BLOCK LAW FIRM, APLC
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                                                RICHARD C. BREAUX, Bar Roll No. 33740
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                                                Counsel for Plaintiffs and Plaintiff Class Members



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2019 a copy of the foregoing has been electronically

filed by using the CM/ECF system, which will send a copy of the foregoing pleading to all

counsel of record by notice of electronic filing.


                                                        /s/ Jerald P. Block
                                                        JERALD P. BLOCK




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